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 WILLIAMS V. CITY OF LANSING, LANSING POLICE DEPARTMENT

                              Case No. It10-cv-1028



 Exhibit 1 - Proof of Service of Interrogatories   and Request for Productron
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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

   LORI WILLIAMS,

                     Plaintiff,                        Docket No: 1:10-cv-1028

                                                       HONORABLE GORDON           J. QUIST
   CITY OF LANSING,
   IANSING POLICE DEPARTMENT,

                    Defendant.

   Richard A. Moier (P38204)                         David K Otis (P31627)
   Attorney for Plaintiff                           PLUNKETT COONEY
   30300 Northwestern Hwy Ste 320                   Attorneys for Defondant
   Farmington Hills, MI 48334                       325 E. Grand River Ave, Ste 250
   (248) 832.3500                                   East Lansing, MI 48823
                                                    (517) 324-5612


                                         PROOF OF SERVICE

                    Laura    L Cushman    states that on the 15th day of April, 2011, she did

   cause to be served a copy of Defendant City of Lansing's Interrogatories        to Plaint&If

   and Request for Production to all attorneys of record at their respective addresses,

   by placing said documents in an envelope properly addressed to said parties and

   depositing same in the U.S. Mail with postage fully prepaid.        I declare under
   penalty of perjury that the above statement is true to the best of my knowledge,

   information     and belief.




                                                       Laura   L Cushman
   Open.18566,08527 10842894-1
